                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                             CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                         No. 08-CR-66-LRR
 vs.
                                                                     SENTENCING
 CHAD EDWARD JONES,
                                                                    MEMORANDUM
                 Defendant.
                                      ____________________

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                                     I. INTRODUCTION
       The matter before the court is the sentencing of Defendant Chad Edward Jones
(“Defendant Jones”).
                          II. RELEVANT PRIOR PROCEEDINGS
       On November 19, 2008, a grand jury returned a three-count superseding indictment
(“Superseding Indictment”) (docket no. 15) against Defendant Jones and his co-defendant,
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Travis Hawkins (“Defendant Hawkins”).            Count 1 charged Defendants with Possession
of a Sawed-Off Shotgun, in violation of 26 U.S.C. §§ 5845(a), 5861(d) and 5871 and 18
                 2
U.S.C. § 2.          Count 2 charged Defendants with Possession of a Firearm with an
Obliterated Serial Number, in violation of 18 U.S.C. §§ 922(k), 924(a)(1)(B) and
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924(a)(2).       Count 3 charged Defendant Jones with being a Felon in Possession of a
                                                                    4
Firearm, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).


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         On October 22, 2008, the grand jury returned a three-count Indictment
(“Indictment”) (docket no. 1) against Defendant Jones.
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         “It shall be unlawful for any person [. . .] to receive or possess a firearm which
is not registered to him in the National Firearms Registration and Transfer Record.” 26
U.S.C. § 5861(d). A “firearm” is “a shotgun having a barrel or barrels of less than 18
inches in length,” or “a weapon made from a shotgun if such weapon as modified has an
overall length of less than 26 inches or a barrel or barrels of less than 18 inches in length.”
26 U.S.C. § 5845(a)(1) & (2).
       3
                 It shall be unlawful for any person knowingly to [. . .] possess
                 or receive any firearm which has had the importer’s or
                 manufacturer’s serial number removed, obliterated, or altered
                 and has, at any time, been shipped or transported in interstate
                 or foreign commerce.

18 U.S.C. § 922(k).
       4
                 It shall be unlawful for any person [. . .] who has been
                 convicted in any court of[] a crime punishable by
                                                                         (continued...)

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        On January 6, 2009, Defendant Jones pled guilty to Counts 1, 2 and 3 of the
Superseding Indictment before a United States Magistrate Judge pursuant to a plea
agreement (“Plea Agreement”) (docket no. 46-2). On the same date, the Magistrate Judge
filed a Report and Recommendation (docket no. 47) in which he recommended that the
undersigned accept Defendant’s guilty plea. On January 21, 2009, the undersigned
accepted Defendant’s guilty plea.
        On April 28, 2009, the United States Probation Office (“USPO”) released a draft
of Defendant’s Presentence Investigation Report (“PSIR”). Both parties lodged objections
to the PSIR. On June 2, 2009, the USPO released the Amended and Final Copy of the
PSIR.
        On June 17, 2009, the government filed its Sentencing Memorandum (“Gov’t. Sent.
Mem.”) (docket no. 63). On June 22, 2009, Defendant filed his Sentencing Memorandum
(“Def. Sent. Mem.”) (docket no. 67).           On June 24, 2009, the government filed a
Supplemental Sentencing Memorandum (“Gov’t. Supp. Sent. Mem.”) (docket no. 68).
        On July 1, 2009, the court commenced Defendant’s sentencing hearing (“Hearing”).
Assistant United States Attorney C.J. Williams represented the government. Attorney
Murray W. Bell represented Defendant, who was personally present. At the Hearing, the
court received evidence, heard argument, listened to one of the victim’s statements and
listened to Defendant Jones’s allocution. Because of the complexity of the issues presented
in this sentencing, the court reserved ruling pending the instant Sentencing Memorandum.


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            (...continued)
                  imprisonment for a term exceeding one year [. . .] to ship or
                  transport in interstate or foreign commerce, or possess in or
                  affecting commerce, any firearm or ammunition; or to receive
                  any firearm or ammunition which has been shipped or
                  transported in interstate or foreign commerce.

18 U.S.C. § 922(g)(1).

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The court advised the parties it would take the sentencing issues under advisement, issue
a written opinion and then reconvene the Hearing to impose sentence.
       At the Hearing, the court advised the parties that it was considering an upward
variance from Defendant Jones’s advisory Sentencing Guidelines range. The court invited
the parties to file memoranda on the variance issue on or before July 13, 2009. On July
13, 2009, Defendant Jones filed a Supplemental Sentencing Memorandum (“Def. Supp.
Sent. Mem.”) (docket no. 76) on the variance issue. On July 21, 2009, the government
filed a response to Defendant Jones’s Supplemental Sentencing Memorandum (docket no.
78).
                          III. SENTENCING FRAMEWORK
       A “district court should begin [a sentencing proceeding] with a correct calculation
of the [defendant’s] advisory Sentencing Guidelines range.” United States v. Braggs, 511
F.3d 808, 812 (8th Cir. 2008). A defendant’s Guidelines range “is arrived at after
determining the appropriate Guidelines range and evaluating whether any traditional
Guidelines departures are warranted.” United States v. Washington, 515 F.3d 861, 865
(8th Cir. 2008).
       “[A]fter giving both parties a chance to argue for the sentence they deem
appropriate, the court should consider all of the factors listed in 18 U.S.C. § 3553(a) to
determine whether they support the sentence requested by either party.” Braggs, 511 F.3d
at 812. “The district court may not assume that the Guidelines range is reasonable, but
instead ‘must make an individualized assessment based on the facts presented.’” Id.
(quoting Gall v. United States, 128 S. Ct. 586, 597 (2007)); see, e.g., Nelson v. United
States, 129 S. Ct. 890, 892 (2009) (“Our cases do not allow a sentencing court to presume
that a sentence within the applicable Guidelines range is reasonable.”).
       The district court “has substantial latitude to determine how much weight to give
the various factors under § 3553(a).” United States v. Ruelas-Mendez, 556 F.3d 655, 657


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(8th Cir. 2009); see also United States v. Feemster, No. 06-2059, 2009 WL 2003970, *7
(8th Cir. July 13, 2009) (en banc) (“‘[I]t will be the unusual case when we reverse a
district court sentence—whether within, above, or below the applicable Guidelines
range—as substantively unreasonable.’” (quoting United States v. Gardellini, 545 F.3d
1089, 1090 (D.C. Cir. 2008)). “If the court determines that a sentence outside of the
Guidelines is called for, it ‘must consider the extent of the deviation and ensure that the
justification is sufficiently compelling to support the degree of the variance.’” Braggs, 511
F.3d at 812 (quoting Gall, 128 S. Ct. at 597). “The sentence chosen should be adequately
explained so as ‘to allow for meaningful appellate review and to promote the perception
of fair sentencing.’” Id.
       All contested issues in Defendant Jones’s sentencing are now fully submitted and
ready for decision. On August 10, 2009, at 8:00 a.m., the court shall reconvene the
Hearing and impose sentence.
                              IV. EVIDENTIARY RULES
       The court makes findings of fact by a preponderance of the evidence. See, e.g.,
United States v. Bah, 439 F.3d 423, 426 n.1 (8th Cir. 2006) (“[J]udicial fact-finding using
a preponderance of the evidence standard is permitted provided that the [Sentencing
Guidelines] are applied in an advisory manner.”). The court considers a wide variety of
evidence, including the undisputed portions of the PSIR and the evidence introduced at the
Hearing. The court does not “put on blinders” and only consider the evidence directly
underlying Defendant Jones’s offenses of conviction. In calculating Defendant Jones’s
Guidelines range, for example, the court applies the familiar doctrine of relevant conduct.
See USSG §1B1.3 (2008). The Eighth Circuit Court of Appeals has repeatedly held that
a district court may consider uncharged, dismissed and even acquitted conduct at
sentencing. See, e.g., United States v. Whiting, 522 F.3d 845, 850 (8th Cir. 2008); United
States v. Bradford, 499 F.3d 910, 922 (8th Cir. 2007), cert. denied, 128 S. Ct. 1446


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(2008). When relevant and “accompanied by sufficient indicia of reliability to support the
conclusion that it [was] probably accurate,” the court credits hearsay. United States v.
Sharpfish, 408 F.3d 507, 511 (8th Cir. 2005).
                                         V. FACTS
       The following facts are drawn from the uncontested portions of the PSIR, the Plea
                                                                5
Agreement and the other evidence presented at the Hearing:
       At some point in early to mid-July of 2008, Defendant Hawkins hatched a robbery
plan. Defendant Hawkins spoke of this plan to Defendant Jones and Defendant Jones’s 17-
year-old brother, J.J. (together, the “trio”). The plan consisted of a nighttime robbery of
a residence located at 597 Cedar Valley Road in West Branch, Iowa (the “Residence”).
Tom Cannon and his wife, Julie Cannon, lived at the Residence along with their minor
daughter, whom Defendant Hawkins had dated. Because of his relationship with the
Cannons, Defendant Hawkins had been inside the Residence on multiple occasions and
learned the security access code to the Residence.
       M.T., a minor cousin of Defendant Jones and J.J., testified before a grand jury
about a conversation she overheard between the trio during which Defendant Hawkins
broached the subject of robbery:
                Q. Tell the Grand Jury what you heard when you were in the
                living room.

                A. Basically just that [Defendant Hawkins] was talking about
                his ex-girlfriend that I met once before and he was dating her
                and she had this ring on that was her mom’s and he wanted to
                take it. He said that they should go in there and take the ring
                for 25 grand.
                                              ***
                Q. Did [Defendant Hawkins] mention using a gun to do that?


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           The court makes additional factual findings in conjunction with its conclusions of
law.

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              A. Yes.

              Q. What did he say about that?

              A. He said they should just go in there and tie them up with
              guns.
Gov. Ex. 1 (docket no. 74-2), at 3.
                              A. Preparation for Robbery
       The trio took several steps to prepare for the robbery in a shop on a farm located
in Tipton, Iowa. Defendant Jones and J.J. lived on the farm.
       First, the trio sawed off the barrel of a Remington Model 870 Express 12 gauge
pump-action shotgun (“Firearm”). Defendants decided to shorten the barrel of the Firearm
to make it easier to handle during the robbery. Defendant Jones sawed off the Firearm
with a hacksaw in Defendant Hawkins’s presence. After sawing off the Firearm, the barrel
had a length of less than 18 inches. More specifically, the altered barrel length was 13 and
7/16 inches and the altered Firearm had an overall length of 33 and 5/8 inches.
       Second, the trio filed the serial number off the Firearm. The trio decided to grind
the serial number off so that no one could identify the Firearm. J.J., while in Defendants’
presence, removed the serial number from the Firearm.
       Third, the trio added a strap to the butt end of the Firearm. Defendant Jones carved
the words “MONEY MAKER” into the side of the Firearm’s receiver. PSIR at ¶ 24
(emphasis in original).
       Fourth, after the trio made all these alterations, each member handled and tested the
Firearm. Each member of the trio knew of all the alterations prior to robbing the
Residence.
       Fifth, during the early evening on July 18, 2008, Defendant Hawkins and J.J.
traveled to the area surrounding the Residence. Defendant Hawkins and J.J. scouted the
area and selected a location to park a getaway vehicle during the robbery.


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                                       B. Robbery
       In the early morning hours of July 19, 2008, J.J. drove the trio to the Residence.
J.J. dropped Defendants off at the Residence and then parked the vehicle at the location
that J.J. and Defendant Hawkins had previously selected. J.J. remained in the vehicle as
the get-away driver.
       Defendants entered the Residence using the access code Defendant Hawkins had
obtained while dating the Cannons’ minor daughter. Defendants wore dark clothing,
masks and gloves. Defendant Hawkins wore a stuffed brassiere so he would appear to be
a woman to mislead the victims and law enforcement into believing the suspects were a
man and a woman rather than two men. Defendant Jones carried the Firearm.
       Defendants entered the Cannons’ master bedroom where Tom and Julie Cannon
were asleep in bed. Defendant Jones loudly and aggressively announced Defendants’
presence.   Then, Defendant Jones pointed the Firearm at Tom and Julie Cannon.
Defendant Jones ordered them to remain in bed.
       Tom Cannon jumped from his bed and began wrestling with Defendant Jones to gain
control of the Firearm. Defendant Hawkins fled the bedroom and the Residence. Using
the Firearm, Defendant Jones struck Tom Cannon in the head and chest several times,
causing him to bleed from his head, face and body.
       Julie Cannon joined the struggle between Defendant Jones and Tom Cannon and
wrestled the Firearm away from Defendant Jones. Then, Defendant Jones fled the
bedroom and the Residence. Julie Cannon attempted to fire the Firearm at Defendant
Jones as he fled the Residence; however, she was unable to do so because the safety lock
was enabled.
       Defendants ran to the get-away vehicle. J.J. drove them away from the scene of the
robbery. While J.J. drove, Defendants removed the clothing they had worn during the
robbery. They placed a portion of this clothing into a plastic garbage bag and threw it into


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a roadside ditch as J.J. drove.
                                      VI. ISSUES
         The government raises one issue with respect to the USPO’s calculation of
Defendant Jones’s advisory Sentencing Guidelines range: whether the court should apply
the two-level enhancement in USSG §3B1.4 for using a minor to commit a crime. The
government bears the burden of proof on this issue. See United States v. Flores, 362 F.3d
1030, 1037 (8th Cir. 2001) (stating that the government bears the burden to prove
sentencing enhancements). Initially, the parties objected to the USPO’s calculation of
Defendant Jones’s restitution. However, the parties now agree that Defendant Jones owes
the Cannons $2,764.72 in restitution. See Gov’t. Supp. Sent. Mem. (stating the parties had
agreed to amount of restitution). Accordingly, the court does not address this issue in the
instant Sentencing Memorandum.
                                  VII. OFFENSE LEVEL
         The parties agree that Defendant Jones’s base offense level is 22. See USSG
§2K2.1(a)(3) and App. A (Statutory Index). The parties also agree that Defendant Jones
is subject to: (1) a four-level upward adjustment pursuant to USSG §2K2.1(b)(4) because
the Firearm had “an altered or obliterated serial number”; and (2) a four-level upward
adjustment pursuant to USSG §2K2.1(b)(6) because he used the Firearm in connection with
another felony offense; that is, the robbery. This brings Defendant Jones’s offense level
to 30.
                                    A. Using a Minor
         The government argues that the court should apply a two-level upward adjustment
because Defendant Jones “used or attempted to use a person less than eighteen years of
age,” that is, J.J., “to commit the offense or assist in avoiding detection of, or
apprehension for, the offense[.]” USSG §3B1.4. The USPO declined to apply this




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upward adjustment when calculating Defendant Jones’s offense level in the PSIR.
       For purposes of §3B1.4, “‘[u]sed or attempted to use’ includes directing,
commanding, encouraging, intimidating, counseling, training, procuring, recruiting, or
soliciting.” USSG §3B1.4 cmt. (n.1). For this enhancement to apply, “the defendant
must affirmatively involve or incorporate the minor into the commission of the offense[.]”
United States v. Mentzos, 462 F.3d 830, 841 (8th Cir. 2006) (citing United States. v.
Paine, 407 F.3d 958, 965 (8th Cir. 2005)). “‘Used or attempted to use’ does not [. . .]
require active involvement on behalf of the minor.” Paine, 407 F.3d at 965 (citing United
States v. Castro-Hernandez, 258 F.3d 1057, 1060 (9th Cir. 2001)). “‘The unambiguous
legislative design of [§]3B1.4 is to protect minors as a class from being “solicited,
procured, recruited, counseled, encouraged, trained, directed, commanded, intimidated,
or otherwise used” to commit crime.’” Id., 407 F.3d at 965 (quoting United States v.
McClain, 252 F.3d 1279, 1286 (11th Cir. 2001)).
       The USPO advised the court to not apply the §3B1.4 enhancement. The USPO
stated that Defendant Jones did not “use” J.J. in the commission of the robbery; rather,
J.J. was a willing and equal participant in the trio. The government argues that the
enhancement should apply because Defendant Jones rode in the getaway car that J.J. drove
                                                                          7
and made alterations to the Firearm with J.J. and Defendant Hawkins.          Although these

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         The court recognizes that the parties stipulated to the application of the §3B1.4
enhancement in paragraph 13 of the Plea Agreement. However, the court is not bound to
the terms of a plea agreement outside the context of Federal Rule of Criminal Procedure
11(c)(1)(C). United States v. Keller, 413 F.3d 706, 708 (8th Cir. 2005).
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         The government also argues that the enhancement should apply because, according
to the PSIR, after law enforcement arrested Defendant Jones and J.J., Defendant Jones
instructed J.J. to refrain from speaking with law enforcement. Defendant Jones objected
to this factual finding in the PSIR and the government did not provide any evidence to
rebut the objection. Accordingly, the court shall not consider this allegation in the instant
Sentencing Memorandum. See United States v. Jenners, 473 F.3d 894, 898-99 (8th Cir.
                                                                              (continued...)

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actions indicate that Defendant Jones participated in the offense with J.J., they do not
demonstrate that Defendant Jones took any affirmative act to engage or involve J.J. in the
offense. See Paine, 407 F.3d 958, 965 (8th Cir. 2005) (“[T]he two-level §3B1.4 increase
is only applicable if a defendant [. . .] in some way affirmatively engages the minor
participant in the crime of conviction.”) (Emphasis added.).
       The government does not point to any authority that states that a defendant’s mere
participation in a crime merits the §3B1.4 enhancement. Indeed, case law from the Eighth
Circuit Court of Appeals indicates that this enhancement applies only when a defendant
takes affirmative actions to involve the minor in the offense. See, e.g., United States v.
Tipton, 518 F.3d 591, 597 (8th Cir. 2008) (affirming application of §3B1.4 enhancement
when the defendant had hired and harbored minors in the commission of offense); United
States v. Voegtlin, 437 F.3d 741, 747 (8th Cir. 2006) (affirming application of
enhancement when the minor purchased pills for the defendant and the defendant
“personally instructed [the minor] to implicate another person if [the minor] was
arrested”); United States v. Wingate, 369 F.3d 1028 (8th Cir. 2004) (affirming application
of the §3B1.4 enhancement when, “[b]ut for [the defendant]’s conduct, [the minors] would
not have been involved in the crime”), reinstated, 415 F.3d 885 (8th Cir. 2005).
       In the absence of any evidence that Defendant Jones took affirmative action to
“direct[], command[], encourag[e], intimidat[e], counsel[], train[], procur[e], recruit[], or
solicit[]” J.J.’s involvement with the robbery, the court finds that the government has
failed to show that Defendant Jones “used” a minor in the commission of the offense.
USSG §3B1.4 cmt. (n.1).         Accordingly, the court declines to apply the §3B1.4


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        (...continued)
2007) (“If the defendant objects to any of the factual allegations contained in the PS[I]R
on an issue on which the government has the burden of proof, such as any enhancing
factors, the government must present evidence at the sentencing hearing to prove the
existence of the disputed facts.”).

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enhancement. Defendant Jones’s offense level remains at 30.
                              B. Acceptance of Responsibility
         The parties agree Defendant Jones is entitled to a two-level reduction for acceptance
of responsibility under USSG §3E1.1(a).            The court finds Defendant Jones has
demonstrated acceptance of responsibility and shall apply this reduction. Additionally,
from the context of the PSIR and the parties’ sentencing memoranda, the court anticipates
the government may ask for an additional one-level reduction for acceptance of
responsibility pursuant to USSG §3E1.1(b). In the event the government makes this
motion and the court grants it, Defendant Jones’s adjusted offense level would be reduced
to 27.
                         VIII. CRIMINAL HISTORY CATEGORY
         The parties do not dispute Defendant Jones’s criminal history category under the
Guidelines. Defendant Jones is a Criminal History Category V.
                 IX. ADVISORY SENTENCING GUIDELINES RANGE
         Defendant Jones is a Criminal History Category V with a total adjusted offense
level of 27.     His advisory Sentencing Guidelines range is 120 to 150 months of
imprisonment. See USSG Sentencing Table.
                                 X. UPWARD VARIANCE
     Title 18 U.S.C. § 3553(a) directs the court to consider the following factors in
determining the particular sentence to be imposed:
                (1) the nature and circumstances of the offense and the history
                and characteristics of the defendant;

                (2) the need for the sentence imposed—

                       (A) to reflect the seriousness of the offense, to promote
                       respect for the law, and to provide just punishment for
                       the offense;



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                     (B) to afford adequate deterrence to criminal conduct;

                    (C) to protect the public from further crimes of the
              defendant; and

                     (D) to provide the defendant with needed educational or
                     vocational training, medical care, or other correctional
                     treatment in the most effective manner;

              (3) the kinds of sentences available;

              (4) the kinds of sentence and the sentencing range established
              for [. . .] the applicable category of offense committed by the
              applicable category of defendant as set forth in the guidelines
              [. . .] issued by the Sentencing Commission[;]

              (5) any pertinent policy statement [. . .] issued by the
              Sentencing Commission[;]

              (6) the need to avoid unwarranted sentence disparities among
              defendants with similar records who have been found guilty of
              similar conduct; and

              (7) the need to provide restitution to any victims of the
              offense.
18 U.S.C. § 3553(a). The court must “impose a sentence sufficient, but not greater than
necessary, to comply with the purposes set forth in paragraph (2)” above. Id. However,
the court need not explicitly set forth its analysis of all the § 3553(a) factors. See, e.g.,
United States v. Lamoreaux, 422 F.3d 750, 756 (8th Cir. 2005) (citing United States v.
Crosby, 397 F.3d 103, 113 (2d Cir. 2005) (“Nothing in § 3553(a) or in the Booker remedy
opinion requires ‘robotic incantations’ that each statutory factor has been considered.”)).
       As it indicated at the Hearing, the court believes an upward variance is proper in
the instant sentencing. When a district court decides to vary, it “‘must consider the extent
of the deviation and ensure that the justification is sufficiently compelling to support the


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degree of the variance[.]’” United States v. Werst, No. 08-3364, 2009 WL 1687765, *2
(8th Cir. June 18, 2009) (quoting Gall, 128 S. Ct. at 597) (affirming district court’s
upward variance). “The additional time to be served above the [G]uidelines range is a
matter that is largely commended to the discretion of the district court.” United States v.
Mahamud, No. 08-3991, 2009 WL 1035163, *1 (8th Cir. Apr. 20, 2009).
       The court concludes that a sentence within the Guidelines range is not appropriate
in this case. The Guidelines do not fully capture a variety of factors the court finds highly
relevant to the instant sentencing. For example, the nature and circumstances of Defendant
Jones’s offenses merit a sentence longer than 150 months of imprisonment. The robbery
was premeditated. Defendant Jones spent a great deal of time making alterations to the
Firearm and otherwise preparing for the robbery. Also, Defendant Jones’s offense conduct
was violent. He awakened his victims in the middle of the night by threatening and
assaulting them with a sawed-off shotgun. Defendant Jones also took pains to conceal his
identity from the Cannons to avoid detection. And, although he did not “use” a minor in
the commission of the robbery under USSG §3B1.4, he did not object to his minor
brother’s participation in the offense.
       Defendant Jones’s history and characteristics also support an upward variance.
Defendant Jones has a substantial amount of unscored criminal history, such as Possession
of Alcohol Under Legal Age and Interference With Official Acts. The court also notes that
Defendant Jones has a history of burglary and theft that began when Defendant Jones was
fourteen years old.
       The court also finds an upward variance is necessary to reflect the seriousness of
Defendant Jones’s offenses, promote respect for the law and provide just punishment. A
term of 150 months of imprisonment will not accomplish this purpose because it does not
reflect the pain and anguish the Cannons have suffered as a result of Defendant Jones’s
actions. The Cannons will continue to feel unsafe in their own home and Defendant


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Jones’s sentence should reflect this harm.
       Additionally, a sentence longer than 150 months of imprisonment is necessary to
protect the public from further crimes by Defendant Jones. Defendant Jones is violent and
dangerous. He preyed upon an innocent, sleeping family by holding them hostage with a
sawed-off shotgun. Further, Defendant Jones poses a high risk to recidivate. Defendant’s
criminal history shows that, prior to his arrest for the instant offenses, Defendant Jones’s
criminal activity was escalating. Defendant Jones had become emboldened to attempt
riskier and more violent acts to attain his criminal goals. These facts show Defendant
Jones has little regard for the letter of the law.
       After considering the § 3553(a) factors, the court finds that an upward variance of
30 months, for a total of 180 months of imprisonment, is warranted in the instant
sentencing. In light of its analysis of the § 3553(a) factors above, the court finds that its
justification to impose this upward variance is sufficiently compelling to support the degree
of the variance.
                                    XI. DISPOSITION
       After all applicable adjustments, the court found Defendant Jones’s final advisory
Sentencing Guidelines range is 120 to 150 months imprisonment. After considering all
of the § 3553(a) factors, the court finds a sentence of a term of 180 months is appropriate
for Defendant Jones. The court shall impose sentence on Defendant Jones in a manner
consistent with the instant Sentencing Memorandum when it reconvenes the Hearing.




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   IT IS SO ORDERED.
   DATED this 27th day of July, 2009.




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